Case 2:17-cr-20595-VAR-EAS ECF No. 177 filed 03/06/20      PageID.2671   Page 1 of 15


                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN

       UNITED STATES,
                                                Case No.: 17-cr-20595
       Plaintiff,
                                                Hon. JUDGE VICTORIA ROBERTS
       v.

       YOUSEF RAMADAN,

       Defendant.

       AYAD LAW, PLLC                           Douglas C. Salzenstein
       Nabih H. Ayad (P59518)                   Assistant United States Attorney
       645 Griswold St., Ste. 2202              211 W. Fort St.
       Detroit, MI 48226                        Detroit, MI 48226
       P: (313) 983-4600                        P: (313) 226-9196
       F: (313) 983-4665                        F: (313) 226-3413
       ayadlaw@hotmail.com                      Doug.Salzenstein@usdoj.gov

               MOTION FOR PERMISSION TO APPEAR PRO HAC VICE

             Pursuant to the Criminal Justice Act and Criminal Justice Act Plan, Nabih H.

      Ayad, on behalf of Defendant Yousef Ramadan, hereby motions this Honorable

      Court to enter an order granting attorney Nabih H. Ayad permission to appear pro

      hac vice and participate as counsel in the above-captioned case on behalf of Yousef

      Ramadan.

             In accordance with LR 7.1(a), this counsel has sought concurrence with the

      government and they have no objection to Mr. Ayad defending Mr. Ramadan as a

      pro hac vice member of the Criminal Justice Act panel so long as Mr. Richard D.
                                                                                    Case 2:17-cr-20595-VAR-EAS ECF No. 177 filed 03/06/20         PageID.2672    Page 2 of 15


                                                                                          Korn is allowed to remain as counsel for Mr. Ramadan. The government does,

                                                                                          however, object to Mr. Ayad substituting Mr. Korn as counsel.

                                                                                                  This counsel relies on the attached brief in support of this Motion.

                                                                                                                                                s/Nabih H. Ayad
                                                                                                                                                AYAD LAW, PLLC
                                                                                                                                                645 Griswold St., Ste. 2202
                                                                                                                                                Detroit, MI 48226
                                                                                                                                                P: 313.983.4600
                                                                                                                                                F: 313.983.4665
                                                                                                  Dated: March 6, 2020                          ayadlaw@hotmail.com
                                                  P: (313) 983-4600 | F: (313) 983-4665
AYAD LAW, P.L.L.C.
                 645 Grisw old St. , St e. 2202
                  DETROIT, MICH IGAN 48226




                                                                                          ii | P a g e
                                                                                    Case 2:17-cr-20595-VAR-EAS ECF No. 177 filed 03/06/20        PageID.2673    Page 3 of 15


                                                                                                           IN THE UNITED STATES DISTRICT COURT
                                                                                                               EASTERN DISTRICT OF MICHIGAN

                                                                                           UNITED STATES,
                                                                                                                                      Case No.: 17-cr-20595
                                                                                           Plaintiff,
                                                                                                                                      Hon. JUDGE VICTORIA ROBERTS
                                                                                           v.

                                                                                           YOUSEF RAMADAN,

                                                                                           Defendant.

                                                                                           AYAD LAW, PLLC                             Douglas C. Salzenstein
                                                                                           Nabih H. Ayad (P59518)                     Hank Moon
                                                  P: (313) 983-4600 | F: (313) 983-4665
AYAD LAW, P.L.L.C.




                                                                                           645 Griswold St., Ste. 2202                Assistant United States Attorneys
                 645 Grisw old St. , St e. 2202
                  DETROIT, MICH IGAN 48226




                                                                                           Detroit, MI 48226                          211 W. Fort St.
                                                                                           P: (313) 983-4600                          Detroit, MI 48226
                                                                                           F: (313) 983-4665                          P: (313) 226-9196
                                                                                           ayadlaw@hotmail.com                        F: (313) 226-3413
                                                                                                                                      Doug.Salzenstein@usdoj.gov

                                                                                                         BRIEF IN SUPPORT OF DEFENDANT’S
                                                                                                   MOTION FOR PERMISSION TO APPEAR PRO HAC VICE

                                                                                                 Mr. Nabih H. Ayad states the following in support of this Motion for

                                                                                          Permission to Appear Pro Hac Vice:

                                                                                                                    PRELMINARY STATEMENT

                                                                                                 This counsel is very familiar with the rules and did not intend to intentionally

                                                                                          omit any requirements from their prior motion. This counsel was simply under the

                                                                                          impression that LR 7.1 did not apply in this situation as the movant is not actually a

                                                                                          party to the current action yet.




                                                                                          1|Page
                                                                                    Case 2:17-cr-20595-VAR-EAS ECF No. 177 filed 03/06/20                             PageID.2674                 Page 4 of 15


                                                                                                                         TABLE OF CONTENTS


                                                                                           Statement of Issues   .   .    .   .       .       .       .       .       .       .       .       .             p. 3
                                                                                           Controlling or Most Appropriate Authority .                        .       .       .       .       .             p. 4
                                                                                           Concise Statement of Facts     .   .       .       .       .       .       .       .       .       .             p. 5
                                                                                           Law and Argument      .   .    .   .       .       .       .       .       .       .       .       .             p. 6


                                                                                            I.   The controlling law in this Case favors Mr. Nabih H.                                                       p. 6
                                                                                                 Ayad’s appointment as pro hac vice defense counsel for
                                                                                                 Defendant Ramadan.
                                                  P: (313) 983-4600 | F: (313) 983-4665
AYAD LAW, P.L.L.C.




                                                                                                    a. Mr. Nabih H. Ayad is more than qualified to
                 645 Grisw old St. , St e. 2202




                                                                                                                                                                                                            p. 7
                  DETROIT, MICH IGAN 48226




                                                                                                       represent Defendant Yousef Ramadan and to
                                                                                                       participate as a member of the CJA panel.

                                                                                                    b. Extraordinary circumstances permit and, in fact                                                      p. 9
                                                                                                       favor, Mr. Ayad’s appointment as counsel for Mr.
                                                                                                       Ramadan.

                                                                                           Conclusion and Relief Requested        .       .       .       .       .       .       .       .
                                                                                                                                                                                                           p. 11




                                                                                          2|Page
                                                                                    Case 2:17-cr-20595-VAR-EAS ECF No. 177 filed 03/06/20     PageID.2675   Page 5 of 15


                                                                                                                     STATEMENT OF ISSUE

                                                                                             1. Does the CJA allow for the appointment of non-panel defense attorneys to

                                                                                                participate pro hac vice under exceptional circumstances?

                                                                                                Defendant’s answer: Yes.

                                                                                                The government’s answer: Yes.




                                                                                             2. Does Mr. Ramadan’s case constitute an exceptional circumstance under the
                                                  P: (313) 983-4600 | F: (313) 983-4665
AYAD LAW, P.L.L.C.
                 645 Grisw old St. , St e. 2202
                  DETROIT, MICH IGAN 48226




                                                                                                CJA, favoring the appointment of Mr. Ayad as his counsel, pro hac vice?

                                                                                                Defendant’s answer: Yes.

                                                                                                The government’s answer: Only if Mr. Ayad will be second-chair to Mr. Korn.




                                                                                          3|Page
                                                                                    Case 2:17-cr-20595-VAR-EAS ECF No. 177 filed 03/06/20      PageID.2676    Page 6 of 15


                                                                                                  CONTROLLING OR MOST APPROPRIATE AUTHORITY



                                                                                           Revised Plan for Implementing the Criminal Justice Act of 1964, As           p. 6
                                                                                           Amended, 18 USC § 3006A (MI R USDCTED CJA Plan(III)(A)(4))

                                                                                           United States v Serhan, unpublished opinion of the Court of Appeals,         p. 9
                                                                                           issued August, 17, 2015 (Docket No. 14-20685), 2015 WL 4886578,
                                                                                           p *3
                                                  P: (313) 983-4600 | F: (313) 983-4665
AYAD LAW, P.L.L.C.
                 645 Grisw old St. , St e. 2202
                  DETROIT, MICH IGAN 48226




                                                                                          4|Page
                                                                                    Case 2:17-cr-20595-VAR-EAS ECF No. 177 filed 03/06/20         PageID.2677   Page 7 of 15


                                                                                                               CONCISE STATEMENT OF FACTS

                                                                                             1. Defendant was indicted on September 7, 2017 with two counts of illegally

                                                                                                possessing a firearm pursuant to 18 USC § 922(k) in 2017.

                                                                                             2. 18 USC § 922(k) states in whole:

                                                                                                It shall be unlawful for any person knowingly to transport, ship, or
                                                                                                receive, in interstate or foreign commerce, any firearm which has had
                                                                                                the importer’s or manufacturer’s serial number removed, obliterated, or
                                                                                                altered or to possess or receive any firearm which has had the
                                                                                                importer’s or manufacturer’s serial number removed, obliterated, or
                                                                                                altered and has, at any time, been shipped or transported in interstate or
                                                                                                foreign commerce.
                                                  P: (313) 983-4600 | F: (313) 983-4665
AYAD LAW, P.L.L.C.
                 645 Grisw old St. , St e. 2202
                  DETROIT, MICH IGAN 48226




                                                                                             3. Defendant is accused of keeping two handguns, which were not manufactured

                                                                                                in Michigan, and with allegedly altered and/or removed serial numbers in a

                                                                                                storage unit, in violation of 18 USC § 922(k).

                                                                                             4. Defendant has been incarcerated for almost two and a half years without

                                                                                                trial, since his arrest in late August of 2017.

                                                                                             5. Defendant is a native of Israel/Palestine, an Arab, and a Muslim.

                                                                                             6. Defendant first language is Arabic.

                                                                                             7. Defendant has requested the help of an attorney who can speak with him in

                                                                                                his native language and who understands Arab culture.




                                                                                          5|Page
                                                                                    Case 2:17-cr-20595-VAR-EAS ECF No. 177 filed 03/06/20       PageID.2678     Page 8 of 15


                                                                                                                           LAW AND ARGUMENT

                                                                                           I.   The controlling law in this Case favors Mr. Nabih H. Ayad’s appointment
                                                                                                as pro hac vice defense counsel for Defendant Ramadan.

                                                                                                The Criminal Justice Act Plan, Section (III)(A)(4), makes it clear that an

                                                                                          attorney may be appointed to serve as a pro hac vice member of the CJA panel for a

                                                                                          single case, when a district court judge finds such appointment appropriate. The CJA

                                                                                          Plan states in pertinent part:

                                                                                                However, when the district judge presiding over the case, or the
                                                                                                chief judge if a district judge has not yet been assigned to the case,
                                                  P: (313) 983-4600 | F: (313) 983-4665
AYAD LAW, P.L.L.C.




                                                                                                determines that the appointment of an attorney, who is not a
                 645 Grisw old St. , St e. 2202
                  DETROIT, MICH IGAN 48226




                                                                                                member of the CJA panel, is in the interest of justice, judicial
                                                                                                economy or continuity of representation, or there is some other
                                                                                                compelling circumstance warranting his or her appointment, the
                                                                                                attorney may be admitted to the CJA panel pro hac vice and
                                                                                                appointed to represent the CJA defendant. Consideration for
                                                                                                preserving the integrity of the panel selection process suggests that such
                                                                                                appointments should be made only in exceptional circumstances.
                                                                                                Further, the attorney, who may or may not maintain an office in this
                                                                                                district, should possess such qualities as would qualify him or her for
                                                                                                admission to this district's CJA panel in the ordinary course of panel
                                                                                                selection. Notice of such appointment shall be sent to the Clerk of Court
                                                                                                at the time of the appointment.

                                                                                                MI R USDCTED CJA Plan (III)(A)(4) (emphasis added).

                                                                                                For the reasons discussed below, the CJA Plan favors the appointment of Mr.

                                                                                          Nabih H. Ayad as counsel for Mr. Yousef Ramadan. This is both because Mr. Ayad

                                                                                          is a highly skilled and qualified federal criminal defense trial attorney and because

                                                                                          Defendant Ramandan will not be adequately represented under the Sixth

                                                                                          Amendment if he cannot accurately and efficiently communicate with his attorney.

                                                                                          6|Page
                                                                                    Case 2:17-cr-20595-VAR-EAS ECF No. 177 filed 03/06/20                PageID.2679       Page 9 of 15


                                                                                          Here, Mr. Ramadan is an Arab who’s first language is Arabic, and Mr. Ayad will be

                                                                                          able to speak clearly with him as Mr. Ayad is also an Arab who speaks Arabic.

                                                                                                     a. Mr. Nabih H. Ayad is more than qualified to represent Defendant
                                                                                                        Yousef Ramadan and to participate as a member of the CJA panel.

                                                                                                 This counsel has reviewed the Application for admittance to the CJA Panel

                                                                                          Attorney Program for the Eastern District of Michigan and meets all of the required

                                                                                          qualifications listed on the application form.

                                                                                                 Attorney Nabih H. Ayad is a member, in good standing, of the Michigan Bar
                                                  P: (313) 983-4600 | F: (313) 983-4665
AYAD LAW, P.L.L.C.




                                                                                          and has been for over 20 years. He has practiced federal criminal defense for the vast
                 645 Grisw old St. , St e. 2202
                  DETROIT, MICH IGAN 48226




                                                                                          majority of that time, and his practice at Ayad Law, PLLC consist of a high

                                                                                          percentage of federal criminal cases. (Approximately 25-33%.) According to

                                                                                          Westlaw Analytics, Attorney Ayad has been counsel on over 270 cases, 182 of which

                                                                                          have been either in federal district court or federal circuit court. Needless to say, Mr.

                                                                                          Ayad has served as a defense attorney on many federal criminal cases of many

                                                                                          different kinds, and many of those have proceeded to trial with Mr. Ayad arguing

                                                                                          before the judge. 1

                                                                                                 The following is a list of the jurisdictions in which Nabih H. Ayad has been

                                                                                          licensed to practice law, including dates of admission to practice, resignation, or

                                                                                          retirement, and any available attorney registration numbers:


                                                                                          1
                                                                                            Mr. Ayad previously applied for a position on the CJA Defenders panel for the district of Detroit,
                                                                                          approximately five years ago. Mr. Ayad’s application was not accepted at that time, for unknown
                                                                                          reasons. Mr. Ayad no longer has the letter from the CJA Defenders panel.
                                                                                          7|Page
                                                                     Case 2:17-cr-20595-VAR-EAS ECF No. 177 filed 03/06/20                      PageID.2680    Page 10 of 15


                                                                                             1. State of Michigan, on April 25, 1999;

                                                                                             2. United States District Court for the Southern District of New York

                                                                                                (pro hac vice, Case NO 11-CIV-9186, CASE NO 12-MAG-693);

                                                                                             3. United States District Court for the Northern District of Illinois on March 25,

                                                                                                2011;

                                                                                             4. United States Supreme Court; on August 12, 2007;

                                                                                             5. 6th Circuit Court of Appeals; on April 4, 2000;

                                                                                             6. 7th Circuit Court of Appeals; on July 16, 2010;
                                                  P: (313) 983-4600 | F: (313) 983-4665
AYAD LAW, P.L.L.C.
                 645 Grisw old St. , St e. 2202
                  DETROIT, MICH IGAN 48226




                                                                                             7. 9th Circuit Court of Appeals; on May 20, 2010;

                                                                                             8. 11th Circuit Court of Appeals; on June 15, 2007;

                                                                                             9. United States District Court for the Eastern District of Michigan; in 1999;

                                                                                             10. United States District Court for the Western District of Michigan, on April 17,

                                                                                                2006; and

                                                                                             11. United States District Court for the Eastern District of Pennsylvania.

                                                                                                The most recent federal criminal case in which Mr. Ayad proceeded to trial

                                                                                          was United States v Al-Jumail (2:12–cr–20272). The most recent federal criminal

                                                                                          case Mr. Ayad has argued in is United States v Makki, (2:19-cr-20176) before the

                                                                                          honorable Judge Linda V. Parker. A case in which Mr. Ayad was brought on as co-

                                                                                          counsel for a limited purpose only. Prior to that, Mr. Ayad was the defender in

                                                                                          United States v Boussi (2:17-cr-20302), a case in which Mr. Ayad’s client was

                                                                                          charged with 31 felonies for which were all dismissed.
                                                                                          8|Page
                                                                     Case 2:17-cr-20595-VAR-EAS ECF No. 177 filed 03/06/20                       PageID.2681    Page 11 of 15


                                                                                                The only disciplinary action taken against Mr. Ayad was by the Michigan Bar

                                                                                          after Ayad Law, PLLC’s recently hired secretary accidentally wrote a check from

                                                                                          Ayad Law, PLLC’s IOLTA account instead of its business bank account, and the

                                                                                          check bounced. When this occurs, the bank automatically notifies the attorney

                                                                                          grievance commission, which then grieved Mr. Ayad. There was no aggrieved party.

                                                                                                As to the judges that Mr. Ayad has practiced before, he can recollect: Judge

                                                                                          George Caram Steeh, Judge Avern Cohn, Judge Arnold Tarnow, Judge Denise Page

                                                                                          Hood, Judge Nancy Edmonds, Judge Gerald Rosen, Judge Victoria Roberts, Judge
                                                  P: (313) 983-4600 | F: (313) 983-4665
AYAD LAW, P.L.L.C.
                 645 Grisw old St. , St e. 2202
                  DETROIT, MICH IGAN 48226




                                                                                          Robert Cleland, Judge Sean Cox, Judge Andrew Littman, Judge Gershwin Drain,

                                                                                          Judge Mark Goldsmith, Judge Paul Borman, Judge Linda Parker, Judge Patrick

                                                                                          Duggan, Judge Terrence Berg, Judge Stephen Murphy, Judge Marianne O. Battani,

                                                                                          and Judge Judith Levy.

                                                                                                   b. Extraordinary circumstances permit and, in fact favor, Mr. Ayad’s
                                                                                                      appointment as counsel for Mr. Ramadan.

                                                                                                Despite this counsel’s diligent efforts, they were only able to find a single case

                                                                                          dealing with a non-bankruptcy CJA pro hac vice appointment in the Sixth Circuit:

                                                                                          United States v Serhan, unpublished opinion of the Court of Appeals, issued August,

                                                                                          17, 2015 (Docket No. 14-20685), 2015 WL 4886578. (Attached at Exhibit A.)

                                                                                                Based on defense counsel's submissions and arguments before the
                                                                                                Court, it appears current counsel is sufficiently knowledgeable of the
                                                                                                procedures and rules in this District and under federal law. In this
                                                                                                instance, there exists exceptional circumstances since Serhan trial is
                                                                                                scheduled for October 2015, a little over two months away. Serhan has
                                                                                                been represented by current counsel since December 2014 and it
                                                                                          9|Page
                                                                     Case 2:17-cr-20595-VAR-EAS ECF No. 177 filed 03/06/20                      PageID.2682     Page 12 of 15


                                                                                                 appears that Serhan is satisfied with defense counsel's representation of
                                                                                                 Serhan. The Court finds in this instance that it is in the interest of
                                                                                                 justice, judicial economy and continuity of representation for current
                                                                                                 retained counsel to be appointed under the CJA. The Court grants
                                                                                                 Defendant's Motion to Appoint Counsel Pursuant to the CJA.

                                                                                                 Id., p *3 (Ex. A).

                                                                                                 This case makes clear that the extraordinary circumstances need not be

                                                                                          extreme circumstances, simply extra-ordinary, as the CJA Plan plainly states. In fact,

                                                                                          in that case, the defense attorney was appointed pro hac vice simply because they

                                                                                          were their chosen attorney whom they had been paying, prior to expending all of
                                                  P: (313) 983-4600 | F: (313) 983-4665
AYAD LAW, P.L.L.C.
                 645 Grisw old St. , St e. 2202
                  DETROIT, MICH IGAN 48226




                                                                                          their funds and because trial was approximately two months away. (Approximately,

                                                                                          because in that same opinion, the judge ordered the trial date adjourned.)

                                                                                                 Mr. Ayad’s practice focuses heavily on civil rights criminal law and Mr. Ayad

                                                                                          was even recognized by the United States Attorney’s office for his work serving as

                                                                                          co-chair on the BRIDGES organization for civil rights. Here, Defendant Ramadan

                                                                                          has been incarcerated without bond or conviction for well over two years on a simple

                                                                                          illegal possession of firearms charge. The length of Mr. Ramadan’s detention raises

                                                                                          concerns regarding his civil rights as a protected minority which should be counseled

                                                                                          to by an experienced civil rights attorney such as Mr. Ayad.

                                                                                                 Finally, Defendant is a native Arabic speaker, and he is not getting adequate

                                                                                          representation if he is unable to communicate efficiently and without any errors

                                                                                          owing to any language or cultural barrios. Mr. Ayad is also fluent in Arabic and will

                                                                                          be able to communicate well with the Defendant, Mr. Ramadan, in his native tongue
                                                                                          10 | P a g e
                                                                     Case 2:17-cr-20595-VAR-EAS ECF No. 177 filed 03/06/20                      PageID.2683     Page 13 of 15


                                                                                          and as someone who understands Mr. Ramadan’s statements from a cultural

                                                                                          standpoint as well.

                                                                                                 Because Defendant has been in custody for over 2 and a half years on these

                                                                                          false charges, he no longer trusts the criminal justice system or its attorneys, except

                                                                                          for Mr. Ayad due to his lengthy work fighting for the Arab and Muslim cause in the

                                                                                          region.

                                                                                                            CONCLUSION AND RELIEF REQUESTED

                                                                                                 In seeking concurrence for this Motion, the government’s attorneys indicated
                                                  P: (313) 983-4600 | F: (313) 983-4665
AYAD LAW, P.L.L.C.
                 645 Grisw old St. , St e. 2202
                  DETROIT, MICH IGAN 48226




                                                                                          to this counsel that they would not object to the appointment of Mr. Ayad, pro hac

                                                                                          vice, as defense counsel for Defendant, so long as Mr. Richard Korn would remain

                                                                                          on the case in his current capacity. Although neither Defendant Ramadan, Mr. Korn,

                                                                                          or Defendant have any objection to both Mr. Ayad and Mr. Korn representing Mr.

                                                                                          Ramadan, should the Court choose that option, if this Court decides not to appoint

                                                                                          Mr. Ayad as co-counsel, then Mr. Ayad should be substituted as counsel for

                                                                                          Defendant, in place of Mr. Richard Korn. Mr. Korn has already submitted a

                                                                                          concurrence to his substitution by Mr. Ayad (ECF No. 175).

                                                                                                 WHEREFORE, the undersigned humbly requests that this Court grant his

                                                                                          motion for pro hac vice admission to practice as defense counsel for Mr. Yousef

                                                                                          Ramadan in the above-caption case only.




                                                                                          11 | P a g e
                                                                     Case 2:17-cr-20595-VAR-EAS ECF No. 177 filed 03/06/20    PageID.2684   Page 14 of 15


                                                                                                                             Respectfully submitted,

                                                                                                                             s/Nabih H. Ayad
                                                                                                                             AYAD LAW, PLLC
                                                                                                                             645 Griswold St., Ste. 2202
                                                                                                                             Detroit, MI 48226
                                                                                                                             P: 313.983.4600
                                                                                                                             F: 313.983.4665
                                                                                                 Dated: March 6, 2020        ayadlaw@hotmail.com
                                                  P: (313) 983-4600 | F: (313) 983-4665
AYAD LAW, P.L.L.C.
                 645 Grisw old St. , St e. 2202
                  DETROIT, MICH IGAN 48226




                                                                                          12 | P a g e
                                                                     Case 2:17-cr-20595-VAR-EAS ECF No. 177 filed 03/06/20                      PageID.2685     Page 15 of 15


                                                                                                                      CEERTIFICATE OF SERVICE

                                                                                                 I hereby certify that on March 6, 2020, I filed via the electronic filing system

                                                                                          the foregoing Motion for Pro Hac Vice Admission, and any attachments, with the

                                                                                          Clerk of the Court and served the same via First Class US Mail copies of the same

                                                                                          on the following parties:

                                                                                                 Douglas C. Salzenstein
                                                                                                 Hank Moon
                                                                                                 Assistant United States Attorney
                                                                                                 211 W. Fort St.
                                                                                                 Detroit, MI 48226
                                                  P: (313) 983-4600 | F: (313) 983-4665
AYAD LAW, P.L.L.C.




                                                                                                 P: 313.226.9196
                 645 Grisw old St. , St e. 2202
                  DETROIT, MICH IGAN 48226




                                                                                                 F: 313.226.3413
                                                                                                 Doug.Salzenstein@usdoj.gov

                                                                                                                                               s/Nabih H. Ayad
                                                                                                                                               AYAD LAW, PLLC
                                                                                                                                               645 Griswold St., Ste. 2202
                                                                                                                                               Detroit, MI 48226
                                                                                                                                               P: 313.983.4600
                                                                                                                                               F: 313.983.4665
                                                                                                 Dated: March 6, 2020                          ayadlaw@hotmail.com




                                                                                          13 | P a g e
